                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                               3:18-CR-202-MOC-DSC-1


 UNITED STATES OF AMERICA,                               )
                                                         )
                                                         )
                                                         )
 Vs.                                                     )                 ORDER
                                                         )
 TONY BERNARD ALEXANDER,                                 )
                                                         )
                       Defendant.                        )


        THIS MATTER comes before the Court on Defendant’s Pro Se Motion to Reduce

Sentence and to Terminate Supervised Release, (Doc. No. 110). Defendant appears to seek

dismissal of the pending supervised release violation charges against him, and he asks the Court

to terminate his supervised release.

                                                ORDER

        Defendant’s Pro Se Motion to Reduce Sentence and to Terminate Supervised Release,

(Doc. No. 110), is DENIED as moot. Since filing this motion, Defendant was sentenced to time

served and to 29 months of supervised release after a supervised release revocation hearing.

                                       Signed: November 24, 2021




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